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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                                   Electronically Filed

DR. CHRISTOPHER FROST                          )
  Plaintiff                                    )               3:19-CV-227-RGJ
                                                      Case No. __________________
                                               )
v.                                             )
                                               )
UNIVERSITY OF LOUISVILLE;                      )
   Serve: Registered Agent: Thomas A. Hoy )
       University of Louisville                )
       Grawemeyer Hall, Suite 206              )
       2301 S. Third Street                    )
       Louisville, KY 40292                    )
                                               )
KIMBERLY KEMPF-LEONARD in her                  )      VERIFIED COMPLAINT, PETITION
   individual and official capacities;         )      FOR DECLARATION OF RIGHTS,
       Serve: 519 Belgravia Court              )      AND REQUEST FOR INJUNCTIVE
       Louisville, KY 40208                    )      RELIEF
                                               )
LAURA SCHROEDER a/k/a Laura Carter in )
   her individual and official capacities; and )
       Serve: 1100 Fischer Ave                 )
       Louisville, KY 40204                    )
                                               )
DONNA ERNST in her individual and official )
   capacities;                                 )
       Serve: Thomas A. Hoy                    )
       University of Louisville                )
       Grawemeyer Hall, Suite 206              )
       Louisville, KY 40292                    )
                                               )
   Defendants                                  )
                                               )


                                  NATURE OF THE ACTION

       1.      This is an action for injunctive relief, compensatory and punitive damages, as well

as a petition for a declaration of rights brought by the plaintiff, Dr. Christopher Frost, against the

University of Louisville and each of the named individual defendants in their official and
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individual capacities. Dr. Frost has protected property and liberty interests and the defendants

have deprived him of those interests without due process of law. The defendants’ conduct is the

proximate cause of irreparable harm to Dr. Frost and warrants injunctive relief as well as

compensatory, and punitive damages.

       2.      Dr. Frost is a tenure-track Assistant Professor of Biology in the College of Arts &

Sciences at the University of Louisville. He has a contract of appointment with the University.

He can only be removed for cause as defined by the University’s Redbook. He is responsible for

the management of a research lab and for the work of graduate students and undergraduate

students who are conducting research, publishing articles in the field of biology, and undertaking

academic speaking engagements. Dr. Frost’s oversight and operation of his lab as well as his

interactions with his students and co-faculty members are necessary to his scholarship and

standing in the academic community. As a result, Dr. Frost has property interests that are

protectable under the Due Process Clause of the Constitution. Dr. Frost also has a protectable

liberty interest in his reputation, good name, honor and integrity.

       3.      The University knows that it must provide adequate due process to professors

with protectable interests.    Nevertheless, in contravention of clearly established law, the

University inquiries into complaints of sexual harassment by conducting interviews.           The

accused has no opportunity to cross-examine his accuser or any other person whom the

University, acting through two HR employees, chooses to interview. Quite the opposite is true.

The accused is expressly prohibited from questioning the accuser or any other interviewee or

witness. The University’s sexual harassment policy embodies this model of inquiry which is

implemented by two HR employees in the Employee Relations and Compliance Office of the

University. A copy of the sexual harassment policy is attached as Exhibit 1.




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         4.     The University employs this model even when faced with competing narratives

and when a determination will turn entirely on credibility. Every time this inquiry model is used

by the University with respect to a faculty member who has protectable interests, it violates that

faculty member’s due process rights. Dr. Frost is one of those faculty members.

         5.     While an accused who is found guilty may seek reconsideration from the same

office that conducts the investigation, reconsideration will be denied unless the application is

supported by affidavits or other written documentation that would “substantially alter the

findings of the investigation.” The end result of the investigatory process is a “case summary

report” that is published to the accuser, the accused faculty member and the “appropriate

administrators for the purpose of rendering any disciplinary action (as appropriate) that is

deemed necessary.” A copy of the report is also sent to the University provost. The results of

the investigation “are not subject to the appeal process.”

         6.     The University, Schroeder, Ernst and Kempf-Leonard subjected Dr. Frost to an

investigation of a sexual harassment complaint in accordance with its unconstitutional sexual

harassment policy. Schroeder and Ernst interviewed the accuser, other “witnesses,” and Dr.

Frost.   Yet, no third party witnessed the alleged events. Other than evidence of the accuser’s

effort to follow Dr. Frost on social media after her allegations were lodged, Ernst and Schroeder

did not possess any other objective evidence.        As a result, the matter turned entirely on

credibility determinations.

         7.     At the end of the investigation, Ernst and Schroeder were unable to find that any

sexual misconduct took place.     They were unable to find that any conduct of a sexual nature

occurred.     Nevertheless, they concluded that Dr. Frost had violated the University’s sexual




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harassment policy, authored a report to that effect, and published it to Dean Kempf-Leonard on

January 14, 2019.

       8.      On January 15, 2019, Dr. Frost notified the Employee Relations personnel and

Dean Kempf-Leonard that he would be seeking reconsideration. He also sought clarification as

to any pending deadline for submission of his material in support of reconsideration. Schroeder

advised there was no deadline. Before Dr. Frost could submit his request for reconsideration, on

January 28, 2019, Kempf-Leonard deemed him “persona non gratis,” banned him from campus,

relieved him of all of his job duties, and barred him from communicating with his students. This

action followed.

                           THE PARTIES, JURISDICTION, AND VENUE

       9.      Dr. Frost is a resident of Jefferson County, Kentucky. At all times pertinent to

this matter, Dr. Frost was a tenure-track Assistant Professor of Biology in the College of Arts

and Sciences at the University of Louisville.

       10.     The University of Louisville is a nonprofit Kentucky corporation doing business

in Louisville, Jefferson County, Kentucky; a Kentucky institution of higher learning per KRS

164.810; and a state agency.

       11.     Kimberly Kempf-Leonard is the Dean of the College of Arts and Sciences at the

University of Louisville and is partially or wholly responsible for the injuries to Dr. Frost as set

forth below.

       12.     Laura Schroeder a/k/a Laura Carter is an EEO – Employee Relations Specialist at

the University of Louisville and is partially or wholly responsible for the injuries to Dr. Frost as

set forth below.




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       13.     Donna Ernst is an Employee Relations Manager at the University of Louisville

and is partially or wholly responsible for the injuries to Dr. Frost as set forth below.

       14.     Subject matter jurisdiction is proper in this Court because this action arises under

the Fourteenth Amendment to the Constitution of the United States and is brought pursuant to 42

U.S.C. §§1983 and 1988. This Court also has personal jurisdiction over the parties.

       15.     Venue is proper because Dr. Frost resides in Jefferson County, Kentucky; the

University is located in and performs its official duties and conducts business in Jefferson

County; and the injuries in question occurred in Jefferson County, all of which are within the

above-captioned judicial district.

                                     FACTUAL ALLEGATIONS

       16.     Dr. Frost incorporates by reference, as if set forth fully herein, each and every

averment, allegation, or statement contained in the previous paragraphs of this Complaint.

       17.     Dr. Frost received his Ph.D. in Ecology from the University of Georgia in 2005.

       18.     On March 13, 2015, the University of Louisville (“University” or “U of L”)

offered Dr. Frost an appointment to its faculty in the Biology Department of College of Arts &

Sciences, Louisville, Kentucky. Dr. Frost accepted the offer and thereby obtained an

appointment. A copy of the offer is attached hereto as Exhibit 2.

       19.     The University recognized that running a research laboratory was necessary to Dr.

Frost’s scholarship and to maintaining his standing in academia. Accordingly, the terms of Dr.

Frost’s contract included $190,000 to be used to purchase equipment and otherwise establish a

research laboratory. Moreover, equipment purchased by Dr. Frost was for his exclusive use.

       20.     Over the course of his three-year tenure at the University, Dr. Frost has

supervised the work of graduate and undergraduate students. Prior to being banished from




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campus, Dr. Frost was supervising the laboratory research, article-writing and other post-

graduate work of three graduate students, one post-doctoral scientist, and eight undergraduate

students, all of whom work in the laboratory created by Dr. Frost. The students and Dr. Frost

work as a team on research, holding weekly meetings to discuss the status of their on-going

projects, including those the results of which they anticipate will be published.

       21.     In 2017, the National Science Foundation awarded Dr. Frost in excess of

$700,000 for use in his on-going research (the “Grant”). In connection with Dr. Frost’s first

Merit Review, then Department Chair Ronald Fell stated that Dr. Frost’s “recent news of major

NSF funding puts him among a select group of Department faculty.” 03/18/17 Merit Evaluation,

Exhibit 3. Dr. Fell also stated “The merit bar has been increasing quickly in the Biology

Department and due to faculty like Chris making these major funding and publication

contributions.” And, “Chris is also on his way to developing an excellent research program.” Id.

The NSF grant was significant not only to the Biology Department and the University but also to

Dr. Frost’s standing in the academic community and his ability to obtain future grants, which in

turn, is necessary to his scholarship and research.

       22.     Upon his second merit review, the Biology Department ranked Dr. Frost “Highly

Proficient.” He was also ranked as “Exceptional” in service. In connection with that merit

ranking, Department Chair Ronald Fell also stated: “Dr. Frost came into the Biology department

and hit the ground running. He quickly set up his laboratory, established a solid graduate

program that continues to grow, has applied for and received federal funding, and is actively

publishing his research findings. I wish every new faculty member would use him as a model for

‘how to start a new position.’” A copy of the Merit Recommendation is attached as Exhibit 4.




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       23.     During the pre-tenure process and review, Dr. Frost received the unanimous

approval of his peers and Dean Kempf-Leonard.         He was poised for and had an interest in an

early tenure appointment.

       24.     Over the course of his three years at U of L, Dr. Frost’s students have twice

ranked him as their favorite professor and his course evaluations from students are routinely

excellent. No complaints had been filed against Dr. Frost prior to the events giving rise to this

action. In fact, an anonymous exit survey conducted after a 2018 field course study in Peru

resulted in all 12 participants’ “recognize[ing] how concerned Drs. Frost and Yanoviak were for

student health and safety.” A copy of the Summary of Rain Forest Exit Survey is attached as

Exhibit 5. One student commented that Drs. Frost and Yanoviak “were keen to know what was

going on with each student and could be heard in passing updating each other on the well being

and whereabouts of each student. I felt very safe . . . .” Id.

       25.     Faculty members in the Department of Biology at the University routinely host

off-campus events to which students, both graduate and undergraduate, are invited. Those events

advertise the availability of alcohol and sometimes consist of BYOB invitations. Invitations to

two such events are attached as Exhibit 6. They are meant to foster collegiality. Some are

sponsored by the University itself and include academically esteemed guest speakers. In a

similar manner, on July 7, 2018, Dr. Frost hosted a potluck at his home. Those students who

worked in his lab were invited to attend. A copy of the invitation is attached as Exhibit 7.

       26.     Five months later, on November 5, 2018, Jane Doe who had attended the potluck

filed a false sexual harassment claim against Dr. Frost.




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       27.       On November 6, 2018, Schroeder, by e-mail, informed Dr. Frost of Ms. Doe’s

complaint, but did not provide him with notice of the substance of Ms. Doe’s allegations. A

copy of Schroeder’s email is attached as Exhibit 8.

       28.       On November 6, 2018, Dr. Frost asked to be “informed of the specifics of the

complaint.” A copy of Dr. Frost’s email is attached as Exhibit 9.

       29.       Despite having already interviewed Ms. Doe and thus despite knowing the

substance of the specific allegations, Schroeder refused to inform Dr. Frost of those allegations.

Instead, she said only this:

                You hosted a potluck at your house in the summer in which students were invited
                Alcohol was served; and
                Inappropriate touching occurred. See Exhibit 9.

       30.       On November 14, 15 and 27, Ernst and Schroeder interviewed two female

students who had attended the July 7th potluck and two additional female students – neither of

whom attended the potluck. None of these students witnessed the conduct alleged by Ms. Doe.

One of these interviewees described conduct that Ms. Doe herself never alleged.         No male

students were ever interviewed.

       31.       At no time was Dr. Frost permitted to talk to or cross-examine Ms. Doe or anyone

else whom Ernst and Schroeder elected to interview. The identities of those interviewees were

never disclosed to Dr. Frost in advance of Ernst and Schroeder’s report.

       32.       On December 5, 2018, Ernst and Schroeder interviewed Dr. Frost. During that

interview, he again asked to be advised of the specific sexual misconduct which had been

alleged. Ernst and Carter refused. Instead, Ernst told Dr. Frost he would have to figure that out

based on the questions that they asked them. Dr. Frost denied the allegation that he had sexually

harassed his accuser, Ms. Doe.




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       33.     At no time during the course of the investigation did Ernst or Schroeder provide

Dr. Frost with notice of the substance of Ms. Doe’s allegations. At no time did Ernst or Schroder

provide Dr. Frost with notice of the substance of any statement they procured from any other

person whom they elected to interview.

       34.     To date, Dr. Frost has no idea which interviewees made the statements attributed

to them in the Ernst and Schroeder report. While Ernst and Schroeder inadvertently disclosed

the identities of the interviewees in their report, the report does not identify who said what.

       35.     The only conduct that Ernst and Schroeder “confirmed” as having taken place was

this: “Dr. Frost placed his hands on Ms. [Doe]’s upper back and her hair.” Although Ms. Doe

herself had stated that this touching occurred while she was vomiting into a toilet, Ernst and

Schroeder omitted that fact from their report. Despite having failed to confirm that any conduct

of a sexual nature occurred, Ernst and Schroeder concluded that Dr. Frost violated the

University’s sexual harassment policy.

       36.     If conduct is not sexual, it is not sexual misconduct. The University’s definition

of sexual harassment makes this clear. The University defines sexual harassment as “unwelcome

sexual advances, requests for sexual favors, and other verbal or physical conduct of a sexual

nature.” Personnel Policy 1.02 (A copy of this policy is attached as Exhibit 10).

       37.     On November 23, 2018, just about two weeks after Ms. Doe’s interview with

Ernst and Schroeder, she tried to follow Dr. Frost through ResearchGate, a social media website.

Dr. Frost provided Ernst and Schroeder with evidence of this fact. There is no mention of this

objective evidence in the Ernst and Schroeder report. Because Dr. Frost was wholly unaware of

Ms. Doe’s specific allegations, her effort to follow him on social media was the only piece of




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information he could provide to rebut the suggestion that he had acted in a manner that alienated

Ms. Doe.

       38.     The January 14, 2019 report by Ernst and Schroeder did not identify any

University policy other than the sexual harassment policy that Dr. Frost’s conduct supposedly

violated. The University did not put Dr. Frost put on notice of any other violation of policy.

       39.     On January 15, 2019, Dr. Frost notified Schroeder and Kempf-Leonard that he

would be seeking reconsideration of the report and its findings. Dr. Frost asked if there was a

deadline with respect to submitting his request. Schroeder (then Carter) advised that there was

no deadline for his submission. A copy of that e-mail is attached as Exhibit 11.

       40.     Before Dr. Frost could submit his request for reconsideration, ten business days

later, on January 28, 2019, Dean Kempf-Leonard immediately relieved Dr. Frost of his “duties

and responsibilities,” declared him “persona non gratis,” banned him from campus and forbade

him from communicating with his students. Kempf-Leonard also advised that “the University

will notify the National Science Foundation (NSF) of the final determination of the Human

Resources investigation conducted in the fall.” She recommended that Dr. Frost be formally

terminated from his employment with the University.

       41.     According to his contract, Dr. Frost can be terminated only for cause and only in

accordance with the Redbook.       He cannot be fired unless “the cause substantially impairs

effectiveness as a faculty member.” The Redbook, Sec. 4.5.3 (A)(1). Cause is defined as

“incompetence,” “refusal to perform one’s duty,” or “immoral conduct.” Id. Dean Kempf-

Leonard’s January 28, 2019 letter does not include any finding that Dr. Frost is an incompetent

professor. It does not include any finding that Dr. Frost refused to teach a class, run his lab or




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discharge any duty undertaken by him. The letter does not find that Dr. Frost engaged in sexual

misconduct as defined by the University’s sexual harassment policy.

        42.    There is no process to appeal the findings and conclusions reached by Schroeder

and Ernst and contained in their January 14, 2019 report. The governing sexual harassment

policy states that the findings made by the Employee Relations Department “are not subject to

the appeal process.” In turn, there is no means by which to rectify any notice to the NSF of the

Ernst/Schroeder report that University elects to make.

        43.    While Dr. Frost may attempt to persuade an internal “grievance committee” that

Dean Kempf-Leonard’s conduct was too punitive or improper, there is no avenue for Dr. Frost to

remedy the constitutional violations or to remove the stigma of being labeled a sex offender.

Nor is there any guarantee that this limited appeal would provide for cross-examination.

                                    COUNT I
                       DEPRIVATION OF PROPERTY INTERESTS

        44.    Dr. Frost incorporates by reference all preceding paragraphs as if fully restated

here.

        45.    Under the Fourteenth Amendment to the United States Constitution, as a tenure-

track professor Dr. Frost had a clearly established property right.       He also had a clearly

established property right in his role as an advisor to students which is necessary to his

scholarship and to his standing in the academic community. Mentoring students, collaborating

with his co-faculty, and running his lab are also necessary to Dr. Frost’s ability to continue his

research, receive grants, engage in scholarship and maintain standing in academia.

        46.    Defendants’ conduct stigmatized Dr. Frost and his immediate removal from his

job deprived him of his protectable property.




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       47.     The University of Louisville as well as Ernst, Schroeder and Kempf-Leonard who

acted in their individual and official capacities deprived Dr. Frost of his clearly established

property rights without due process of law by failing to provide him with adequate notice of the

allegations against him and by preventing him from cross-examining his accuser and the other

students who were selected by Ernst and Schroeder for interviews.

       48.     Defendants also deprived Dr. Frost of his protectable property interests by making

the determination that he violated the University sexual harassment without factual basis, by

deeming him persona non gratis, by banishing him from campus, by barring any further

interaction with his students, and by jeopardizing his NSF grant without factual basis.

       49.     Defendants deprived Dr. Frost of his constitutional property rights without due

process of law as Dr. Frost did not have adequate notice of the charges against him, adequate

notice of the evidence used against him, the ability to cross-examine his accuser and other

witnesses, or the ability to challenge any other evidence against him.

       50.     Ernst, Schroeder and Kempf-Leonard, acting in their individual and official

capacities, executed official University policy that deprived Dr. Frost of his constitutionally

protected property and liberty interests by making sexual misconduct determinations without due

process of law and without factual basis, by disregarding the University’s own process, and by

falsely finding that Dr. Frost had violated the University’s sexual harassment policy and by

terminating Dr. Frost’s employment through banishment from his lab and barring

communication with his students.

       51.     At all times relevant hereto, Defendants were acting under color of state law and

their acts and omissions were conducted within the scope of their official duties or employment.

Thus, Defendants are liable to Dr. Frost pursuant to 42 U.S.C. § 1983 for their deprivation of his




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property interests without due process of law. Dr. Frost is entitled to injunctive relief as a result

of the violation of his constitutional right to due process.

        52.      Defendants’ unlawful conduct has proximately caused Dr. Frost to incur damages,

including but not limited to loss of liberty, embarrassment, humiliation, and emotional distress.

        53.      Defendants acted willfully, knowingly, and purposefully or with deliberate

indifference to or reckless disregard of Dr. Frost’s his constitutional rights. As a result, Dr. Frost

is entitled to punitive damages.

                                      COUNT II
                           DEPRIVATION OF LIBERTY INTEREST

        54.      Dr. Frost incorporates by reference all preceding paragraphs as if fully restated

here.

        55.      Dr. Frost had a liberty interest in his good name, honor and reputation and

pursuing his chosen occupation in which he developed an excellent reputation in the academic

community.

        56.      Dr. Frost’s liberty interest was impugned by Defendants who have stigmatized

Dr. Frost by means of voluntary, public dissemination of false information about Dr. Frost.

Biology Department Chair Perri Eason has put all department faculty on notice of the Dean’s

decision. Dr. Eason has advised graduate students to reconfigure their graduate committees (a

panel of professors who guide a student’s graduate degree process) to exclude Dr. Frost, and, at

least one graduate student, was told to find a new major advisor. No less than one graduate

student, who had selected Dr. Frost as her major professor, has already advised a non-University-

of-Louisville professor who sits on her committee that she must find a replacement for Dr. Frost

as instructed.




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        57.     Defendants have altered and deprived Dr. Frost of his status as a tenure-track

Assistant Professor by banishing him from his lab, by barring him from communicating with his

students, and by preventing him from the use and management of the NSF grant funds in

furtherance of his career.

        58.     The statements made against Dr. Frost have imposed a stigma on Dr. Frost,

impugning his standing and associations within the academic community.

        59.     As a direct and proximate result of the actions of the Defendants, Dr. Frost has

suffered an unconstitutional deprivation of his liberty without being accorded due process of law

under the Fourteenth Amendment to the Constitution and he is entitled to injunctive relief as a

result of this violation of his constitutional rights.

        60.     As a direct and proximate cause of Defendants’ unlawful conduct, Dr. Frost has

suffered substantial damages, including but not limited to lost wages, loss of liberty,

embarrassment, humiliation, and emotional distress.

        61.     Defendants acted willfully, knowingly, and purposefully or with deliberate

indifference to or reckless disregard of Dr. Frost’s his constitutional rights. As a result, Dr. Frost

is entitled to punitive damages.

                                   COUNT III
                    REQUEST FOR IMMEDIATE INJUNCTIVE RELIEF

        62.     Dr. Frost incorporates by reference, as if set forth fully herein, each and every

averment, allegation, or statement contained in the previous paragraphs of this Complaint.

        63.     Dr. Frost requests this Court immediately issue an injunction prohibiting the

University or any of its employees or other agents from informing the National Science

Foundation of any alleged policy violations, for the reasons set forth in his Motion for Immediate

Injunctive Relief, filed this same day.



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       64.     Dr. Frost requests this Court immediately issue an injunction enjoining U of L

from enforcing Dean Kempf-Leonard’s sanctions and that requires U of L to fully reinstate Dr.

Frost to his tenure-track position as an Assistant Professor in the university’s Biology

Department pending the outcome of this litigation, for the reasons set forth in his Motion for

Immediate Injunctive Relief, filed this same day.

       65.     Dr. Frost requests this Court immediately issue an injunction requiring U of L to

provide Dr. Frost with full credit for any class or research work missed as a result of Defendants’

wrongful conduct, a name-clearing, and an expunging of any disciplinary and employment

record in regard to the present matter pending the outcome of this litigation, for the reasons set

forth in his Motion for Immediate Injunctive Relief, filed this same day.

                               COUNT IV
             DECLARATORY JUDGMENT AND PERMANENT INJUNCTION

       66.     Dr. Frost incorporates by reference, as if set forth fully herein, each and every

averment, allegation, or statement contained in the previous paragraphs of this Complaint.

       67.     Dr. Frost requests this Court issue a declaratory judgment deeming

unconstitutional any and all policies, procedures, practices, and/or customs, whether written or

unwritten, under which Dr. Frost was deprived his constitutional rights as set forth above, and

further requests that the court permanently enjoin Defendants from following or enforcing such

policies, procedures, practices and/or customs.

       68.     Dr. Frost further requests that he be granted permanent injunctive relief in the

following forms:

       a.      That the University reinstate Dr. Frost as an Assistant Professor;

       b.      That the University grant him full credit for any class or research work missed as

a result of Defendants’ wrongful conduct;



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       c.        That the University be required to publicly clear Dr. Frost’s name and to expunge

any disciplinary and employment record created with respect to the events giving rise to this

action; and

       d.        That the University and all its employees and other agents be enjoined from

disclosing any information with regard to Dr. Frost’s discipline or alleged policy violations in

any context, including but not limited to any report to the National Science Foundation or letters

of recommendation or reference.

                                              COUNT V
                                              DAMAGES

       69.       Dr. Frost incorporates by reference, as if set forth fully herein, each and every

averment, allegation, or statement contained in the previous paragraphs of this Complaint.

       70.       As a result of Defendants’ unlawful conduct, Dr. Frost is entitled to compensatory

damages in an amount exceeding the jurisdictional minimums of this Court.

       71.       Dr. Frost is entitled to punitive damages for the willful, wanton, oppressive,

malicious, and/or grossly negligent conduct of Defendants, as if set forth above.

       72.       Pursuant to 42 U.S.C. § 1988, Dr. Frost is further entitled to his costs and

attorneys’ fees in bringing and maintaining this action, plus interest.

       WHEREFORE, Plaintiff, Dr. Christopher Frost, respectfully requests the following:

       1. Immediate injunctive relief, as requested above;

       2. A permanent injunction and declaratory judgment, as requested above;

       3. An award of compensatory and punitive damages as set forth in the Complaint above

              against all Defendants, jointly and severally;

       4. Trial by jury on all issues so triable;

       5. His costs and attorneys’ fees, plus pre- and post-judgment interest;



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    6. Any and all other relief to which he may be entitled.


                                                Respectfully submitted,

                                                /s/ R. Gregg Hovious
                                                R. Gregg Hovious
                                                Loren T. Prizant
                                                Matthew P. Dearmond
                                                MIDDLETON REUTLINGER
                                                401 South 4th Street, Suite 2600
                                                Louisville, KY 40202
                                                (502) 584-1135
                                                ghovious@middletonlaw.com
                                                lprizant@middletonlaw.com
                                                mdearmond@middletonlaw.com

                                                - and –

                                                Mary E. Eade
                                                Jason M. Nemes
                                                Nemes Eade PLLC
                                                914 Lily Creek Rd, Suite 202
                                                Louisville, KY 40243
                                                502.792.0350
                                                meade@nemes-eade.com
                                                jnemes@nemes-eade.com

                                                Counsel for Plaintiff, Dr. Christopher Frost




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                                      VERIFICATION



       I, CHRISTOPHER FROST, acknowledge that the factual statements contained in the

preceding Complaint are true and complete to the best of my knowledge, information and belief.



                                           By:
                                                   Christopher rost


COMMONWEALTH OF KENTUCKY                   )
                                           ) SS:
COUNTY OF JEFFERSON


       Subscribed and sworn to before me this March 27, 2019, by CI IRISTOPHER FROST.




                                                   iClOTABlY PUBLIC


       My Commission Expires:                            r9oa (
